

Matter of A. R. v M. R. (2025 NY Slip Op 02283)





Matter of A. R. v M. R.


2025 NY Slip Op 02283


Decided on April 17, 2025


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: April 17, 2025

Before: Manzanet-Daniels, J.P., Kennedy, Kapnick, Scarpulla, Higgitt, JJ. 


Docket No. F46613-4/14/20|Appeal No. 4128|Case No. 2024-03649|

[*1]In the Matter of A. R., Petitioner-Appellant,
vM. R. Respondent-Respondent.


Law Offices of Randall S. Carmel, Jericho (Randall S. Carmel of counsel), for appellant.



Order, Family Court, New York County (Maria Arias, J.), entered on or about May 6, 2024, denying petitioner mother's objections to an order of the same court (Monera Mohamed Seliem, Support Magistrate), dated February 5, 2024, which dismissed the mother's petition for a downward modification of child support, unanimously affirmed, without costs.
Under the particular circumstances of this case, Family Court properly denied the mother's objections to the Support Magistrate's order, which dismissed the mother's petition on the ground that the children were already emancipated under the terms of the parties' custody and child support stipulation when the mother filed the petition. The mother herself averred in the petition that the children were emancipated, and the father also stated, in his response to the mother's objections, that the mother was asking for a downward modification after her child support obligation already expired. We can discern no basis to disturb Family Court's conclusion, which is entitled to great deference (see Matter of Anthony L. v Bernadette R., 193 AD3d 510, 510 [1st Dept 2021]).
To the extent the mother sought reduction or modification of child support arrears that accrued before she filed the petition, "[t]he law is well settled that child support arrears cannot be modified retroactively" (Matter of Mary P. v Joseph T.P., 132 AD3d 404, 404 [1st Dept 2015], citing Matter of Dox v Tynon, 90 NY2d 166, 173-174 [1997]; Family Court Act § 451). 
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: April 17, 2025








